Case 3:18-cv-01550-TWR-AGS Document 1 Filed 07/06/18 PageID.1 Page 1 of 10




                                                    '18CV1550 AJB AGS
Case 3:18-cv-01550-TWR-AGS Document 1 Filed 07/06/18 PageID.2 Page 2 of 10
Case 3:18-cv-01550-TWR-AGS Document 1 Filed 07/06/18 PageID.3 Page 3 of 10
Case 3:18-cv-01550-TWR-AGS Document 1 Filed 07/06/18 PageID.4 Page 4 of 10
Case 3:18-cv-01550-TWR-AGS Document 1 Filed 07/06/18 PageID.5 Page 5 of 10
Case 3:18-cv-01550-TWR-AGS Document 1 Filed 07/06/18 PageID.6 Page 6 of 10
Case 3:18-cv-01550-TWR-AGS Document 1 Filed 07/06/18 PageID.7 Page 7 of 10
Case 3:18-cv-01550-TWR-AGS Document 1 Filed 07/06/18 PageID.8 Page 8 of 10
Case 3:18-cv-01550-TWR-AGS Document 1 Filed 07/06/18 PageID.9 Page 9 of 10
Case 3:18-cv-01550-TWR-AGS Document 1 Filed 07/06/18 PageID.10 Page 10 of 10
